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          IN THE UNITED STATES DISTRICT COURT FOR THE
                  MIDDLE DISTRICT OF FLORIDA
                      FORT MYERS DIVISION

UNITED STATES OF AMERICA, )
                                 )
           Plaintiff,            )
                                 )
      v.                         ) CIVIL NO. 2:20-cv-769-JLB-NPM
                                 )
JOHN H. FARO,                    )
                                 )
           Defendant.            )
_________________________________ )

        UNITED STATES’ MOTION FOR ORDER DECLARING
       DEFENDANT JOHN H. FARO SERVED WITH PROCESS
           WITH SUPPORTING MEMORANDUM OF LAW

      Plaintiff, United States of America, respectfully moves the Court to

issue an Order declaring defendant John H. Faro served with process.

      The United States initiated this action to collect Faro’s unpaid federal

income tax liabilities for the 2004 through 2012, 2013, and 2015 tax years.

ECF No. 1. Although Faro was made aware of the lawsuit in a telephone call

with undersigned counsel on November 8, 2020, the United States’ diligent

efforts to personally serve Faro with service of process have been

unsuccessful. Consequently, the United States served Faro by substituted

service of process upon the Florida Secretary of State in accordance with Fla.

Stat. § 48.161, by mailing copies of the pleadings to the Florida Secretary of

State and Faro by U.S. Certified Mail return receipt requested. Substituted
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service is valid under Fla. Stat. § 48.161 despite the absence of postal receipts

from Faro because Faro is aware of this lawsuit and is voluntarily and

deliberately evading service. Accordingly, the Court should enter an Order

declaring Faro served with process.

                               I.    BACKGROUND

      A. Efforts to Personally Serve Defendant John H. Faro

        On October 2, 2020, the United States filed a complaint to collect

Defendant John H. Faro’s unpaid federal income tax liabilities for the 2004

through 2013 and 2015 tax years. ECF No. 1. Upon receipt of the certified

summons, the United States mailed copies of the Complaint, summons, and a

request to waive service 1 by Federal Express to Faro’s last known address in

Bonita Springs, Florida. ECF No. 20, ¶ 2. The courier was told by the

current occupant that Faro no longer resided at the Bonita Springs address.

Id.

        As recounted in the Affidavit of Compliance with Florida Statute

§ 48.161, on November 3, 2020, the undersigned contacted Faro by telephone.

Id. at ¶ 3. The undersigned introduced herself as counsel for the United

States, and advised Faro that the Government had filed a civil lawsuit




1Due to the COVID-19 pandemic, the United States is requesting that defendants
waive personal service of process.
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against him, and that the United States had mailed him documents

requesting that he waive service of process of the summons and the

Complaint. Id. The undersigned explained that federal lawsuit had been

filed against him to collect unpaid federal income taxes. Id. Faro, a licensed

attorney, said that he would respond to the Complaint once he was personally

served and hung up the phone. Id. The undersigned tried calling Faro back

at the same number, but the call when straight to voicemail. Id.

      On November 10, 2020, the United States retained MercuryServe, Inc.,

a process serving company, to effectuate service of process upon the

defendant. Id. at ¶ 4. The undersigned counsel for the United States

provided MercuryServe with the latest address information for the defendant

obtained from public records searches, such as Faro’s business website, and

nonpublic record searches conducted by the undersigned using such tools as

PeopleMap on Thomson Reuters Westlaw. Id.

      Using Faro’s latest address obtained by the United States, the process

servers attempted to personally serve Faro at the addresses listed below:

      1395 Brickell Avenue
      Suite 800
      Miami, Florida 33131

      1200 Federal Highway
      Suite 200
      Boca Raton, Florida 33432

      999 Vanderbilt Beach Road

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      Suite 200
      Naples, Florida 34108

      1050 Brickell Avenue
      Apt. 1412
      Miami, Florida 33131

      The process server left copies of the Complaint and summons at Faro’s

“virtual offices” in Miami and Boca Raton, Florida, whose addresses are listed

above, but was unable to serve Faro at his residential address in Miami,

Florida. Id. at ¶ 5. See also ECF No. 20-1 and 20-2. The process server

confirmed that Faro resides at 1050 Brickell Avenue, Apt. 1412, Miami,

Florida, but was informed by a security officer at the apartment building that

Faro had been out of town during the holiday season. ECF No. 20, ¶ 6.

      On December 23, 2020, the United States filed a motion for an

extension of the deadline to serve Faro because the United States had

reasons to believe that he was deliberately evading service. ECF No. 5.

Since January 8, 2021, a process server attempted to serve Faro at his

residential address on five different occasions. ECF No. 20, ¶ 6. On each

attempt, Faro has not answered when the process server knocked on the

apartment door. Id. The process server also left a voicemail on Faro’s

personal cell phone, but Faro never returned the process server’s phone call

to arrange for service of process to be effectuated. Id. See also ECF No. 20-4.




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      The United States moved for a second extension of time to serve Faro

with process. ECF No. 15. The Court granted the second extension motion

(ECF No. 21), and directed the United States to provide Faro with copies of

its Order. In addition to the Order, the United States sent another waiver of

service form to Faro by email 2 and by Federal Express to his business and

residential addresses in Miami, Florida. ECF No. 22. Faro never returned

an executed waiver of service form.

    B. Service by Substituted Service Under Fla. Stat. § 48.161

      On February 9, 2021, the United States filed an Amended Complaint to

allege facts that bring the defendant within the purview of the statute for

substitute of service. See Fla. Stat. § 48.161. See ECF No. 8. On February

17, 2021, the United States served Faro in accordance with Fla. Stat. §

48.161, by mailing copies of the Summons and Amended Complaint by U.S.

Certified Mail return receipt requested to the Florida Secretary of State. See

Duncan Decl. ¶ 2, Ex. A. See also ECF No. 20-5. On February 19, 2021, the

United States served identical copies of these pleadings on Faro by U.S.

Certified Mail return receipt requested at 1050 Brickell Avenue, Apt. 1412,

Miami, Florida 33131. See Duncan Decl. ¶ 3, Ex. B. See also ECF No. 20-6.




2 Faro’s email address, johnf75712@aol.com, is on file with the Florida State Bar,
and has been used by Faro to receive CM/ECF notifications. See e.g., Raptor LLC v.
Barriero Construction et al., No. 1:17-cv-23737 (S.D. Fla.).
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      In concert with the above mailings, the United States filed a Notice of

Service of Process Upon Defendant John H. Faro by Serving Florida

Secretary of State with the Court, which informed Faro of the deadline to file

his response to the Amended Complaint. See ECF No. 14. Furthermore, on

March 11, 2021, the United States filed an Affidavit of Compliance pursuant

to Fla. Stat. § 48.161 describing efforts to serve the Florida Secretary of State

and Faro under the statute. See ECF No. 20. The United States also filed

tracking information from the U.S. Postal Service’s website confirming the

Florida Secretary of State’s receipt of substituted service on behalf of Faro.

See Duncan Decl. ¶ 4, Ex. C. See also ECF No. 20-7. The U.S. Postal

Service’s website confirms that copies of the pleadings were delivered to Faro

at 1050 Brickell Avenue, Apt. 1412, Miami, Florida 33131 on February 25,

2021. See Duncan Decl. ¶ 5, Ex. D. See also ECF No. 20-8. The United

States received correspondence from the Florida Secretary of State stating

that substitute service of process was accepted for Faro on March 9, 2021.

See Duncan Decl. ¶ 6, Ex. E.

                               II.   DISCUSSION

   A. Substituted Service Pursuant to Fla. Stat. § 48.161

      Rule 4 of the Federal Rules of Civil Procedure provides that a

defendant can be served process by following state law. See Fed. R. Civ. P.

4(e)(1); Manufacturers Hanover Trust Co. v. Ponsoldt, 51 F.3d 938 (11th Cir.

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1995). Under Florida state law, personal service may be made on the

Secretary of State pursuant to Fla. Stat. § 48.161 when a person is concealing

his whereabouts as follows—

       When authorized by law, substituted service of process on a . . .
       person who conceals his or her whereabouts by serving a public
       officer designated by law shall be made by leaving a copy of the
       process with a fee of $8.75 with the public officer or in his or
       her office or by mailing the copies by certified mail to the
       public officer with the fee. . . . Notice of service and a copy of
       the process shall be sent forthwith by registered or certified
       mail by the plaintiff or his or her attorney to the defendant,
       and the defendant’s return receipt and the affidavit of the
       plaintiff or his or her attorney of compliance shall be filed on or
       before the return day of the process or within such time as the
       court allows . . .

See Fla. Stat. § 48.161. See also United States v. Cornwell, 2020 U.S. Dist.

LEXIS 23409, at *8-*9, 2020 WL 674092 (M.D. Fla. Feb. 11, 2020).

      To support substituted service of process under the statute, the

complaint must allege the jurisdictional requirements prescribed by statute

including the ultimate facts bringing the defendant within the purview of the

statute. See Dixon v. Blanc, No. 19-12251, 796 F. App’x 684, 687 (11th Cir.

2020); Atlantis Marine Towing Salvage & Servs. V. M/Y O’Machine, 2019

U.S. Dist. LEXIS 142976 at *7; 2019 WL 5209153 (S.D. Fla. Aug. 21, 2019).

In addition, compliance with the substituted service statute requires: (1)

sending the process to the Secretary of State by certified mail; (2) sending

notice of service and the process to the defendant by registered or certified


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mail; and (3) filing the return receipt for the defendant’s mailing and an

affidavit of compliance on or before the return day of the process or within

such time as the court allows. Id. See also Cornwell, 2020 U.S. Dist. LEXIS

23409 at *9. However, the court may dispense with the filing of a postal

receipt from the defendant if the substituted service statute is invoked on the

ground that the defendant is evading service. See Sea Pack, Inc. v. Trans-

Jam Express Shipping Co., 2013 U.S. Dist. LEXIS 128182 at *2 (S.D. Fla.

2013). See also Cornwell 2020 U.S. Dist. LEXIS 23409 at *4; United States v.

Hovnanian, 2019 U.S. Dist. LEXIS 85805, 2019 WL 2206767 (D.N.J. May 22,

2019); Verizon Trademark Servs., LLC v. Producers, Inc., 2011 U.S. Dist.

LEXIS 84756, 2011 WL 3296812 (M.D. Fla. Aug. 2, 2011).

      Before using the substitute service statute, a plaintiff must

demonstrate the exercise of due diligence in attempting to locate the

defendant. See MPM 17A STR, LLC v. Spitalnic, 2015 U.S. Dist. LEXIS

92551 (S.D. Fla. 2015); see Nova Cas. Co. v. Just Beach Inn, LLC, 2013 U.S.

Dist. LEXIS 197489 (S.D. Fla. 2013). See also Verizon, 2011 U.S. Dist.

LEXIS 84756. Thus, a court determines “not whether it was in fact possible

to effect personal service in a given case, but whether the [plaintiff]

reasonably employed knowledge at [plaintiff’s] command, made diligent

inquiry, and exerted an honest and conscientious effort appropriate under the

circumstances to acquire information necessary to enable [plaintiff] to effect

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personal service on the defendant.” See Verizon, 2011 U.S. Dist. LEXIS

84756 at *9-*10. As shown below, the United States made a diligent inquiry

and effort to serve the defendants personally and complied with Florida

Statute § 48.161.

   B. The United States Has Undertaken Diligent Efforts to
      Personally Serve Defendant John H. Faro

      The United States reasonably explored knowledge at its command and

made diligent inquires and efforts in attempting to locate and serve Faro

with process. Following receipt of the executed summons, the United States

mailed copies of the Complaint, summons, and a request to waive service by

Federal Express to Faro’s address in Bonita Springs, Florida. The courier

was told by the current occupant that Faro no longer resided at the Bonita

Springs address.

      The United States also attempted to coordinate service of process with

Faro by telephone. On November 3, 2020, counsel for the United States

contacted Faro by telephone, advised him of the civil lawsuit filed against

him to collect unpaid federal income taxes, and explained that the

Government was trying to serve him with process. Faro would not agree to

waive personal service of process and hung up the telephone.

      Furthermore, MercuryServe unsuccessfully attempted personal serve

Faro at his business addresses in Miami, Boca Raton, and Naples, Florida


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 addresses and at his residential address in Miami, Florida. Although the

 process servers were able to deliver copies of the pleadings and summons at

 his “virtual offices” in Miami and Boca Raton, Florida, they were unable to

 serve Faro personally.

       Despite these numerous and diligent attempts, the United States is

 unable to serve Faro with process because he is deliberately concealing his

 whereabouts. Accordingly, the United States reasonably employed

 knowledge at its command, made diligent inquiry, and exerted an honest and

 conscientious effort appropriate to the circumstances, to acquire the

 information necessary to enable it to effect service, albeit unsuccessfully. See

 Nova, 2013 U.S. Dist. LEXIS 197498 at *4; Spitalnic, 2015 U.S. Dist. LEXIS

 92551 at *5. See also Cornwell, 2020 U.S. Dist. LEXIS 23409 at *10-*11.

    C. Substituted Service is Valid Under Fla. Stat. § 48.161

       The United States properly served Faro by substituted service of

 process upon the Florida Secretary of State pursuant to Fla. Stat. § 48.161.

 Atlantis Marine Towing Salvage & Servs., 2019 U.S. Dist. LEXIS 142976 at

 *7; Cornwell, 2020 U.S. Dist. LEXIS 23409 at *9. To begin, the United States

 amended its complaint to bring the case into the purview of the statute by

 alleging facts concerning Faro’s deliberate evasion of personal service. The

 United States then mailed the pleadings via U.S. Certified Mail return

 receipt requested to the Florida Secretary of State with copies of same to

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 Faro via U.S. Certified Mail return receipt requested on February 17 and 19,

 2021, respectively, in accordance with the statute. See Duncan Decl. ¶¶ 2-3,

 Exs. A & B. The United States also filed an Affidavit of Compliance with the

 Court on March 11, 2021 within 21 days of the date of service of the Florida

 Secretary of State in accordance with Fla. Stat. § 48.161. See ECF No. 20.

 The United States also received correspondence from the Florida Secretary of

 State confirming acceptance of substitute service on behalf of Faro on March

 9, 2021. See Duncan Decl. ¶ 6, Ex. E. To date, the United States has not

 received any postal receipts signed by Faro from the U.S. Post Office

 concerning the pleadings that were mailed to Faro on February 17, 2021,

 although the U.S. Postal Service’s website confirms that copies of the

 pleadings were delivered to Faro at his residential address in Miami, Florida

 on February 25, 2021. See Duncan Decl. ¶ 5, Ex. D. See also ECF No. 20-8.

       Notwithstanding the lack of a postal receipt from Faro, substituted

 service under Fla. Stat. § 48.161 is valid. As explained above, to properly

 effect substituted service under Fla. Stat. § 48.161, a plaintiff is required to

 file a defendant’s return receipt with the Court. See Fla. Stat. § 48.161.

 However, there is an exception to this requirement where the defendant is

 concealing his or her whereabouts. See Sea Pack, Inc., 2013 U.S. Dist. LEXIS

 128182 at *5. See also Verizon, 2011 U.S. Dist. LEXIS 84756 at *15 (“[w]hen

 a resident conceals his whereabouts, obviously it is impossible to serve him

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 by mail or otherwise. When a defendant makes it impossible for the plaintiff

 to serve him by mail or otherwise, the failure to file defendant’s return

 receipt does not prevent this court from acquiring jurisdiction”). The

 exception is applicable here because Faro was notified of this lawsuit by

 counsel for the United States on November 3, 2020 and despite repeated

 attempts by process servers to serve him at locations that were confirmed to

 be occupied by Faro, he has not been served with process because he is

 voluntarily and deliberately concealing his whereabouts. Furthermore, Faro,

 a licensed attorney, refused to waive service of process, despite being

 requested to do so numerous times either by telephone, e-mail, and U.S.

 Certified Mail. Therefore, substituted service is valid under Fla. Stat. §

 48.161, and the Court should declare Faro served with process. See, e.g.,

 Verizon, 2011 U.S. Dist. LEXIS 84756 at *16 (“With knowledge of this action,

 [defendant] cannot be allowed to avoid personal and substitute service of

 process by failing to retrieve his own mail, by voluntarily remaining outside

 the jurisdiction of this Court and by failing to provide relevant information

 about his whereabouts to Plaintiffs in order to permit personal service of the

 Amended Complaint.”). See also Hovnanian, 2019 U.S. Dist. LEXIS 85805

 (granting United States’ motion to have defendant declared served after

 repeated unsuccessful efforts at personal service).



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                               III.   CONCLUSION

       The United States engaged in a diligent search to locate and serve Faro

 and properly effectuated substituted service of process on Faro through the

 Florida Secretary of State in accordance with Fla. Stat. § 48.161. Service is

 valid under Fla. Stat. § 48.161 despite the inability to file postal receipts from

 Faro because Faro is deliberately evading service. Therefore, the Court

 should enter an Order declaring Faro served with process.

                  LOCAL RULE 3.01(g) CERTIFICATION

       The undersigned counsel is unable to comply with the requirement to

 confer with Defendant John H. Faro under Local Rule 3.01(g) because Faro is

 believed to be deliberately concealing his whereabouts.

 Dated: April 12, 2021
                                             Respectfully submitted,

                                             DAVID A. HUBBERT
                                             Acting Assistant Attorney General

                                             s/ Elizabeth N. Duncan
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                                             Of Counsel:

                                             KARIN HOPPMANN
                                             United States Attorney
                                             Middle District of Florida




                         CERTIFCATE OF SERVICE

        I certify that a copy of the foregoing was filed electronically through the
 Court’s ECF/PACER filing system on April 12, 2021. A copy of the foregoing
 is also being served on the defendant by email and by Federal Express at
 their last known address listed below:

       John H. Faro
       1050 Brickell Ave., Apt. 1412
       Miami, Florida 33131
       Johnf75712@aol.com

                                             /s/ Elizabeth N. Duncan
                                             ELIZABETH N. DUNCAN
                                             Trial Attorney, Tax Division




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